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12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15
     IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
16   ANTITRUST LITIGATION,                           MDL No. 1917
17
     This Document Relates to:                       THOMSON SA’S NOTICE OF MOTION
18                                                   AND EMERGENCY MOTION TO
     Sharp Electronics Corp., et al. v. Hitachi,     AMEND ITS ANSWERS AND FOR
19   Ltd., et. al., No. 13-cv-01173                  PARTIAL RELIEF FROM THE
                                                     COURT’S ORDER RE: THOMSON
20   Electrograph Systems, Inc. et al. v.            DISCOVERY

21   Technicolor SA, et al., No. 13-cv-05724;        Date: January 23, 2015
                                                     Time: 10:00 a.m.
22   Alfred H. Siegel, as Trustee of the Circuit     Place: Courtroom 1, 17th Floor
     City Stores, Inc. Liquidating Trust v.          Judge: Hon. Samuel Conti
23   Technicolor SA, et al., No. 13-cv-00141;
24   Best Buy Co., Inc., et al. v. Technicolor SA,
25   et al., No. 13-cv-05264;

26   Interbond Corporation of America v.
     Technicolor SA, et al., No. 13-cv-05727;
27
     Office Depot, Inc. v. Technicolor SA, et al.,
28   No. 13-cv-05726;
     THOMSON SA’S MOTION FOR LEAVE TO AMEND AND                        No. 07-5944-SC; MDL No. 1917
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 1
     Costco Wholesale Corporation v.
 2   Technicolor SA, et al., No. 13-cv-05723;
 3
     P.C. Richard & Son Long Island
 4   Corporation, et al. v. Technicolor SA, et al.,
     No. 31:cv-05725;
 5
     Schultze Agency Services, LLC, o/b/o
 6   Tweeter Opco, LLC, et al. v. Technicolor SA,
 7   Ltd., et al., No. 13-cv-05668;

 8   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
 9
     Target Corp. v. Technicolor SA, et al., No.
10
     13-cv-05686;
11
     Tech Data Corp., et al. v. Hitachi, Ltd., et
12   al., No. 13-cv-00157

13   ViewSonic Corporation, v. Chunghwa
     Picture Tubes, Ltd., et al., 3:14cv-02510;
14
     Crago, et al. v. Mitsubishi Electric Corp.,
15   No. 14-cv-02058.

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 1                NOTICE OF MOTION AND EMERGENCY MOTION TO AMEND
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE that on January 23, 2015 at 10:00 a.m. or as soon thereafter as
 4   this matter may be heard before the Honorable Samuel P. Conti, U.S. District Court Judge, U.S.
 5   District Court for the Northern District of California, Courtroom No. 1, 17th Floor, 450 Golden
 6   Gate Avenue, San Francisco, California 94102, the moving Defendant listed on the signature
 7   page below will and hereby does move this Court, in accord with Federal Rule of Civil Procedure
 8   15(a)(2), for an Order granting the moving Defendant leave to file amended answers in the
 9   following cases:
10          1.     Sharp Electronics Corp., et al. v. Hitachi, Ltd., et. al., No. 13-cv-01173;
11          2.     Electrograph Systems, Inc. et al. v. Technicolor SA, et al., No. 13-cv-05724;
12          3.     Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust v.
13                 Technicolor SA, et al., No. 13-cv-00141;
14          4.     Best Buy Co., Inc., et al. v. Technicolor SA, et al., No. 13-cv-05264;
15          5.     Interbond Corporation of America v. Technicolor SA, et al., No. 13-cv-05727;
16          6.     Office Depot, Inc. v. Technicolor SA, et al., No. 13-cv-05726;
17          7.     Costco Wholesale Corporation v. Technicolor SA, et al., No. 13-cv-05723;
18          8.     P.C. Richard & Son Long Island Corporation, et al. v. Technicolor SA, et al., No.
19                 31:cv-05725;
20          9.     Schultze Agency Services, LLC, o/b/o Tweeter Opco, LLC, et al. v. Technicolor SA,
21                 Ltd., et al., No. 13-cv-05668;
22          10.    Sears, Roebuck and Co. and Kmart Corp. v. Technicolor SA, et al., No. 3:13-cv-
23                 05262;
24          11.    Target Corp. v. Technicolor SA, et al., No. 13-cv-05686;
25          12.    Tech Data Corp., et al. v. Hitachi, Ltd., et al., No. 13-cv-00157;
26          13.    ViewSonic Corporation v. Chunghwa Picture Tubes, Ltd., et al., 3:14cv-02510;
27          14.    Crago, et al. v. Mitsubishi Electric Corp., No. 14-cv-02058.
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 1   In addition, the moving Defendant will and hereby does move this Court, for an Order granting
 2   the Moving Defendant partial relief from the Court’s October 23, 2014 Order re: Thomson
 3   Discovery (Dkt. No. 2945).
 4          This Motion is based on this Notice of Motion and Emergency Motion, the accompanying
 5   Memorandum of Points and Authorities in support thereof, the pleadings and correspondence on
 6   file with the Court, and such arguments and authorities as may be presented at or before the
 7   hearing.
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2           In accord with Rule 15(a)(2) of the Federal Rules of Civil Procedure, Thomson SA
 3   respectfully moves for leave to file amended answers in each of the above-captioned matters to
 4   concede this Court’s specific personal jurisdiction over it in these actions only and to withdraw
 5   with prejudice its related affirmative defense. 1     In light of this concession, Thomson SA
 6   respectfully requests that the Court grant it limited relief from the October 23, 2014 Order
 7   compelling Thomson SA to produce documents and testimony responsive to certain document
 8   requests and Rule 30(b)(6) deposition notice topics related to the Court’s general or specific
 9   personal jurisdiction over Thomson SA (Dkt. No. 2945).
10                                      I.      INTRODUCTION
11           Facing virtually insurmountable discovery obligations and costs related to its defense that
12   this Court lacks personal jurisdiction over it, Thomson SA decided several weeks ago to withdraw
13   this defense and concentrate its resources entirely on complying with other aspects of the Court’s
14   October 23 Order. Thomson SA notified Plaintiffs of this decision and the parties have since
15   been negotiating a stipulation whereby Thomson SA would waive its personal jurisdiction
16   defense and concede this Court’s specific personal jurisdiction. Thomson SA has been consistent
17   in insisting that its concession be limited to these actions only and not spill over into unrelated
18   and presently irrelevant questions over Plaintiffs’ ability to enforce any eventual judgment in
19
     1
20     Pursuant to Civil L.R. 10-1, the proposed amended Answers are attached to this Motion in each
     case as follows: Sharp Electronics Corp., et al. v. Hitachi, Ltd., et. al., No. 13-cv-01173 (Ex. 1);
21   Electrograph Systems, Inc. et al. v. Technicolor SA, et al., No. 13-cv-05724 (Ex. 2); Alfred H.
     Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust v. Technicolor SA, et al., No.
22
     13-cv-00141 (Ex. 3); Best Buy Co., Inc., et al. v. Technicolor SA, et al., No. 13-cv-05264 (Ex. 4);
23   Interbond Corp. of America v. Technicolor SA, et al., No. 13-cv-05727(Ex. 5); Office Depot, Inc.
     v. Technicolor SA, et al., No. 13-cv-05726 (Ex. 6); Costco Wholesale Corp. v. Technicolor SA, et
24   al., No. 13-cv-05723 (Ex. 7); P.C. Richard & Son Long Island Corp., et al. v. Technicolor SA, et
     al., No. 31:cv-05725 (Ex. 8); Schultze Agency Services, LLC, o/b/o Tweeter Opco, LLC, et al. v.
25   Technicolor SA, Ltd., et al., No. 13-cv-05668 (Ex. 9); Sears, Roebuck and Co. and Kmart Corp.
     v. Technicolor SA, et al., No. 3:13-cv-05262 (Ex. 10); Target Corp. v. Technicolor SA, et al., No.
26
     13-cv-05686 (Ex. 11); Tech Data Corp., et al. v. Hitachi, Ltd., et al., No. 13-cv-00157 (Ex. 12);
27   ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd., et al., 3:14cv-02510 (Ex. 13); and Crago, et
     al. v. Mitsubishi Electric Corp., No. 14-cv-02058 (Ex. 14).
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 1   other jurisdictions. Despite assuring the Court and Thomson SA on more than one occasion that
 2   certain of their discovery requests are unnecessary if Thomson SA concedes personal jurisdiction,
 3   Plaintiffs have attempted to use the Court’s order to extract concessions regarding unrelated legal
 4   issues. Unable to proceed with a stipulation absent Plaintiffs’ cooperation, Thomson SA now
 5   moves to Court for leave to amend its answers to withdraw its personal jurisdiction defense and
 6   further asks the Court to relieve it of the obligation to comply with the October 23 Order so far as
 7   it relates solely to personal jurisdiction.
 8                                          II.    BACKGROUND
 9           Thomson SA is a French corporation headquartered in Issy-les-Moulineaux, France. On
10   March 13, 2014, the Court denied Thomson SA’s motion to dismiss DAPs’ complaints for lack of
11   personal jurisdiction, finding that the Court had specific personal jurisdiction over Thomson SA.
12   (Dkt. No. 2440). To ensure that its personal jurisdiction defense was preserved for appeal,
13   Thomson SA asserted lack of personal jurisdiction as an affirmative defense in the Answers it
14   filed to DAPs’ complaints. (See, e.g., Answer of Thomson SA to Sharp’s First Amended
15   Complaint, Case No. 13-cv-01173, Dkt. No. 114, ¶ 8 & Defense No. 42.) In response, DAPs
16   sought expansive discovery from Thomson SA related to whether Thomson SA is subject to
17   personal jurisdiction in the United States. For example, DAPs requested that Thomson SA
18   produce
            All documents from the Relevant Period which relate to or reflect the transfer of
19          money between any Thomson Defendant and any of the following entities: (a)
            each Thomson Defendant; (b) Thomson Consumer Electronics, Inc.; (c) Thomson
20          Multimedia, Inc.; (d) Thomson, Inc.; (e) Thomson Displays Americas LLC; (f)
            Technologies Displays Americas, LLC; (g) Thomson Displays Mexicana, S.A. de
21          C.V.; (h) Technologies Displays Mexicana, S.A. de C.V.; (i) Thomson SA; (j)
            Technicolor, Inc.; (k) Videocon Industries, Ltd.; (l) RCA; (m) Proscan; (n) all
22          other Affiliated Entities.
23   (See RFP No. 12, DAPs’ Second Set of Requests for Production of Documents.)
24           On July 28, 2014, DAPs moved to compel Thomson SA to produce four categories of
25   documents and testimony including, inter alia, documents and testimony that relate to the Court’s
26   general or specific personal jurisdiction over Thomson SA (“Category 2”) (DAPs’ Motion to
27   Compel, Ex. 15, at 3). In their motion, DAPs identified specific requests for production of
28   documents and Rule 30(b)(6) notice topics that DAPs claimed fell within Category 2 because

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 1   they sought the production of documents relevant to Thomson SA’s personal jurisdiction
 2   defense. 2 DAPs represented to the Court that it was necessary for Thomson SA to produce
 3   Category 2 documents so DAPs could “rebut any arguments that Thomson SA did not have
 4   sufficient minimum contacts within the United States for the court to exercise general or specific
 5   personal jurisdiction.” (Id. at 4 & n.9.) DAPs assured the Court and Thomson SA that such
 6   information was unnecessary “[i]f Thomson SA concedes that this court has personal jurisdiction
 7   over it.” (Id. at 4, n.9.)
 8           On September 2, 2014, the Special Master recommended that the Court grant DAPs’
 9   motion (Dkt. No. 2812.) On October 23, 2014, this Court agreed, granted DAPs’ motion, and
10   ordered Thomson SA to produce documents in several categories the DAPs moved to compel,
11   including the Category 2 personal jurisdiction requests.     (Dkt. No. 2945.)    The Court also
12   extended discovery against Thomson SA for 60 days from the entry of the order, until December
13   22, 2014. (Id.)
14           Since that time, Thomson SA has worked extraordinarily hard, devoted substantial
15   resources, and incurred enormous expense to comply with the Court’s order within 60 days (while
16   simultaneously drafting summary judgment motions and preparing for the fast-approaching
17   March 2015 trial). It has assembled a document review team composed of more than twenty five
18   attorneys to search, review, and analyze hundreds of thousands of documents in at least six
19   foreign languages that were originally located in France. (Affidavit of J. Roberts (“Roberts
20   Declaration”), Ex. 22 at ¶ 23.) As a result, Thomson SA has produced over 160,000 bates
21   numbered pages of documents responsive to DAPs’ requests, although, because a substantial
22   percentage of these documents were produced in native format and thus received a single bates
23   number, the actual number of pages of documents Thomson SA has produced is likely more than
24   500,000. (Id. at ¶ 23.)      Included within this production are all documents in Thomson SA’s
25   possession, custody, and control regarding its sale of its CRT business to Videocon and
26   2
      DAPs’ First Set of Requests for Production to Thomson SA, Nos. 36-37, 46-60; Notice of
27   Deposition of Thomson SA Pursuant to Fed. R. Civ. P. 30(b)(6), Nos. 13, 14, 20, 21, 24, 25, 31.
     Plaintiffs’ currently pending Second Amended Notice of Deposition of Thomson SA Pursuant to
28   Fed. R. Civ. P. 30(b)(6) is substantially identical to the original Notice.

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 1   communications it had with competitors regarding CRTs – the documents critical to DAPs’
 2   claims in this action. And Thomson SA is producing additional documents regarding these topics
 3   this week.
 4          Moreover, to avoid the enormous expense and unnecessary delay that the review and
 5   production of documents responsive to DAPs’ Category 2 requests would impose on all parties
 6   and to ensure that the Thomson Defendants are not forced off the current trial schedule, Thomson
 7   SA agreed to accept the offer DAPs made in their June 28, 2014 Motion to Compel and agreed to
 8   waive its personal jurisdiction defense. However, DAPs have refused to agree to an appropriately
 9   tailored stipulation to resolve this issue. Instead, as a condition to foregoing discovery on facts
10   relevant to Thomson SA’s personal jurisdiction defense, DAPs have demanded that Thomson SA
11   also stipulate that any potential judgment entered by this Court against Thomson SA is
12   enforceable in all foreign jurisdictions, a legal issue that is wholly independent of a United States
13   court’s personal jurisdiction over a party.
14          For example, in a November 24, 2014 letter regarding the parties’ attempts to meet and
15   confer on this issue, DAPs stated that “we wish to clarify that any concession of personal
16   jurisdiction vis-à-vis Thomson SA would need to include a concession (documented in an
17   appropriate Stipulation to be entered by the Court) that Thomson SA will not contest, in France or
18   in any other country, the enforceability of a judgment of this Court against Thomson SA. We are
19   working on appropriate language for the Stipulation.” (Nov. 24, 2014 Letter from C. Benson at 3,
20   Ex. 16.) Thomson SA responded by reiterating that while it “remains willing to waive objections
21   to personal jurisdiction in this lawsuit, it will not agree to waive any other rights. Thomson SA is
22   willing to consider a narrowly-tailored stipulation that reflects a waiver of personal jurisdiction
23   for this lawsuit only, but it will not waive all rights to contest enforceability of an adverse
24   judgment as that issue is distinct and separate from the issue of personal jurisdiction.” (Nov. 25,
25   2014 Letter from K. Osborn at 2, Ex. 17.) In this way, Thomson SA explained that to resolve the
26   instant discovery dispute it would not stipulate to matters, such as the enforceability of a
27   judgment, that are not relevant to the claim or defense of any party and thus are not the proper
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 1   subject of discovery under Fed.R.Civ.P.26. See Fed.R.Civ.P. 26(b)(1) (stating that a party may
 2   only obtain discovery that is “relevant to any party’s claim or defense”).
 3          Regardless, DAPs have continued to attempt force Thomson SA to stipulate to matters
 4   that, following waiver of Thomson SA’s personal jurisdiction defense, are not relevant to the
 5   claim or defense of any party. On December 3, 2014 DAPs sent Thomson SA a draft stipulation
 6   that contained language requiring Thomson SA to agree it will not “resist recognition and
 7   enforcement of any judgment in this matter in any forum in the world . . . in return for not having
 8   to produce documents solely related to personal jurisdiction in the United States.” (Dec. 3, 2014
 9   Draft Stipulation and [Proposed] Order Regarding Personal Jurisdiction Over Thomson SA at
10   3:18-21, Ex. 18.) Thomson SA responded by sending DAPs a revised stipulation that agreed to
11   waive Thomson SA’s personal jurisdiction defense for purposes of these actions, but eliminated
12   “content that is either redundant or extends beyond the personal jurisdiction issue the stipulation
13   is intended to address.” (Dec. 5, 2014 Email from J. Roberts at 1, and Dec. 5, 2014 Draft
14   Stipulation attached thereto, Ex. 19.) Seemingly recognizing that whether a potential judgment is
15   enforceable under foreign law is not the proper subject of a stipulation, on December 8, 2014
16   Plaintiffs sent Thomson SA a draft stipulation that removed any language regarding
17   enforceability of a judgment.     (Dec. 8, 2014 Draft Stipulation, Ex. 20.)        However, in all
18   subsequent drafts, DAPs have reinserted and continued to demand that Thomson SA enter into a
19   stipulation regarding the enforceability of any judgment in a foreign jurisdiction to resolve the
20   current discovery dispute.     (See, e.g., Dec. 11, 2014 Draft Stipulation at 4:13-16, Ex. 21
21   (requiring Thomson SA to admit “for purposes of this action and any action in the United States
22   or another country to collect on a judgment in this action” that Thomson SA is subject to personal
23   jurisdiction in the United States).) Accordingly, the parties are at an impasse.
24          Because Plaintiffs have refused to cooperate without extracting unacceptable and
25   irrelevant concessions, and given the impending December 22, 2014 closing of the extended
26   discovery period against Thomson SA, Thomson SA now moves the Court for leave to amend its
27   Answers to withdraw its affirmative defense asserting that this Court lacks personal jurisdiction
28   over it in this action. As Plaintiffs have previously conceded, since the burdensome discovery

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 1   they seek regarding Category 2 documents is now not necessary for DAPs to establish that
 2   Thomson SA is subject to personal jurisdiction, Thomson SA also moves the Court to enter an
 3   order relieving it of the obligation to produce documents and testimony solely responsive to the
 4   Category 2 requests.
 5                                         III.   ARGUMENT
 6   A.     The Court Should Grant Thomson SA’s Motion for Leave to Amend.
 7          A district court “shall grant leave to amend freely ‘when justice so requires.’” Owens v.
 8   Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (quoting Lopez v. Smith, 203
 9   F.3d 1122, 1130 (9th Cir.2000) (en banc) (quoting Fed.R.Civ.P. 15(a))). The Ninth Circuit Court
10   of Appeals has held that “this policy is to be applied with extreme liberality.” Id. (quoting
11   Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.1990)) see also Griggs
12   v. Pace Am. Group, Inc., 170 F.3d 877, 880 (9th Cir.1999) (noting that inferences should be
13   drawn “in favor of granting the motion”). A district considers four factors in deciding whether to
14   grant leave to amend “the presence of any of four factors: bad faith, undue delay, prejudice to the
15   opposing party, and/or futility.” Griggs v. Pace Am. Group, Inc., 170 F.3d 877, 880 (9th
16   Cir.1999). Where, as here, the proposed amendments serve to simplify the litigation, courts are
17   especially inclined to grant leave. See Pierce v. Sprouts Cafe Inc., No. CIV. S-09-3002 FCD,
18   2010 WL 3069312, at *2 (E.D. Cal. Aug. 3, 2010) (finding that amended answer seeking to
19   remove affirmative defense served to “streamline the issues, thus serving the interests of justice”
20   and granting leave without considering the usual factors).
21          Here, the Court should grant Thomson SA leave to amend its Answers to withdraw its
22   personal jurisdiction affirmative defense because none of the factors weighing against amendment
23   are present.
24          First, Thomson SA is not proceeding in bad faith. Its decision to withdraw its personal
25   jurisdiction defense is the result of a careful weighing of the extraordinary cost and burden of
26   responding to Plaintiffs’ Category 2 discovery requests against Thomson SA’s prospects for
27   prevailing on this affirmative defense and the importance of proceeding to trial on March 9, 2015
28   with the other defendants. Thomson SA does not have the time or resources to search for, review,

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 1   and produce hundreds of thousands of Category 2 documents and simultaneously prepare for a
 2   March 2015 trial. Accordingly, based on this cost benefit analysis, it has decided to waive this
 3   defense.
 4          Second, Thomson SA has not unduly delayed seeking leave to amend its Answers.
 5   Discovery against Thomson SA in this massive litigation began a mere nine months ago. Since
 6   that time, Thomson SA has worked tirelessly to catch up with discovery, understand the evidence,
 7   and develop its defenses. After the Court ordered Thomson SA to produce documents related to
 8   personal jurisdiction in October, Thomson SA immediately evaluated the value of continuing its
 9   personal jurisdiction defense in light of its other discovery obligations, the Plaintiffs’
10   representation that a substantial amount of the discovery subject to the order would be
11   unnecessary if Thomson SA conceded personal jurisdiction, and other exigencies. (See Roberts
12   Decl., Ex. 22 at ¶ 25.) Thomson SA promptly offered to waive its personal jurisdiction defense if
13   Plaintiffs agreed not to seek related discovery. Unfortunately, on December 17, after nearly two
14   months of negotiations, Thomson SA and Plaintiffs reached an impasse on the language of a
15   stipulation that would allow Thomson SA to withdraw its defense without amending its Answers.
16   (Roberts Decl., Ex. 22 at ¶ 26.) Thomson SA now promptly moves for leave to amend its
17   Answers to concede personal jurisdiction so it may resolve this discovery dispute with Plaintiffs.
18          Third, Thomson SA’s amendment will not prejudice any other parties. By withdrawing
19   its affirmative defense and conceding personal jurisdiction, Thomson SA is seeking to narrow the
20   issues that remain to be resolved at trial. This benefits Plaintiffs by precluding the possibility that
21   additional evidence will undermine the Court’s finding that Thomson SA is subject to personal
22   jurisdiction or that the Courts of Appeals will disagree with the Court’s ruling on the issue. The
23   amendment further benefits Plaintiffs by relieving them of the burden of pursing discovery on this
24   defense.
25          However, Plaintiffs would like to use Thomson SA’s desire to waive its personal
26   jurisdiction defense and avoid prohibitively costly discovery as leverage to extract concessions
27   regarding the eventual enforcement of any judgment against Thomson SA. But as discussed
28   below, the issue of enforcement of a judgment is separate from the underlying merits of a case

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 1   and not an appropriate subject for pretrial discovery. While Plaintiffs may have ulterior motives
 2   for continuing to seek jurisdictional discovery, notwithstanding their acknowledgment that such
 3   discovery is only necessary “to the extent that Thomson SA intends to rely on a jurisdictional
 4   defense based on materials in the record,” it is not prejudicial for Plaintiffs to have to first prevail
 5   on the merits of their claim before seeking discovery related solely to enforcement.
 6          Finally, the fourth consideration—futility—is irrelevant in this context because Thomson
 7   SA’s amendment, if granted, would          remove its personal jurisdiction defense and concede
 8   personal jurisdiction in these actions only.
 9          Thus, because Thomson SA’s proposed amendments are made in good faith, without
10   undue delay, and do not prejudice any party, the Court should grant Thomson SA leave to amend
11   its Answers.
     B.     The Court Should Relieve Thomson SA of the Unnecessary Burden of Producing
12          Category 2 Discovery.
13          To ensure Thomson SA may complete its document production by December 22, 2014
14   and thereby remain on track to proceed to trial with the other defendants in March 2015, the
15   Court should also enter an order relieving Thomson SA of the obligation to produce documents
16   and testimony responsive solely to the Category 2 discovery requests and not encompassed within
17   the other categories subject to the Court’s October 23, 2014 Order. Plaintiffs have represented to
18   the Court and Thomson SA on more than one occasion that Category 2 discovery in unnecessary
19   to the extent that Thomson SA concedes the Court’s personal jurisdiction. First, they expressly
20   stated this in their Motion to Compel, justifying bypassing French law on the question of
21   Category 2 documents and testimony solely on the basis that they were necessary to rebut
22   Thomson SA’s personal jurisdiction defense (See Motion to Compel at 3-4 & n. 5, 9). Second, in
23   their November 17, 2014 Reply in support of their Motion to Enforce, they confirmed to the
24   Court that they continued to “fully embrace” this view by reaffirming that “it is certainly correct
25   that the documents solely in Category 2 are unnecessary if Thomson SA concedes personal
26   jurisdiction—a fact that Plaintiffs included in their motion to the Discovery Master, as Thomson
27   SA now notes, and that Plaintiffs continue to fully embrace . . . .” (Dkt. No. 3120 at 8). These
28   representations have not been without consequences: the Court carefully weighed the breadth of

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 1   the discovery requests at issue in ruling on Plaintiffs’ motion, and, having agreed to waive its
 2   personal jurisdiction defense with respect to this action, Thomson SA has prioritized production
 3   of documents responsive to other categories. Plaintiffs should not now be allowed to contest that
 4   they need the discovery at issue for other purposes. 3
 5          Moreover, the Federal Rules do not permit Plaintiffs to continue pursing discovery based
 6   on their concern that if they prevail at trial, Thomson SA will contest the enforceability of the
 7   judgment. Thomson SA has now moved to amend its Answers to concede to it is subject to the
 8   specific personal jurisdiction of this Court and withdraw its related affirmative defense,
 9   foreclosing its ability to raise the defense at trial or contest this Court’s prior ruling on appeal.
10   Under Rule 26, the DAPs and the DPPs are only entitled to obtain discovery “relevant to any
11   party’s claim or defense” that is “reasonably calculated to lead to the discovery of admissible
12   evidence.” Fed. R. Civ. P. 26 (b)(1). It is hornbook law that a party may not obtain discovery
13   regarding issues that are not relevant to a party’s claims or defenses, including facts relevant to
14   whether a potential judgment may be enforced against a defendant. See Wright and Miller,
15   Federal Practice and Procedure at section 2010 (recognizing that facts not relevant to the claims
16   or defenses of a party but only to the enforceability of a judgment, such as facts regarding a
17   defendant’s financial condition, are not discoverable under Rule 26). Instead, facts relevant to a
18   claimant’s ability to enforce a judgment may only be discovered under Fed. R. Civ. P. 69 after
19   judgment has entered. Therefore, under Rule 26, there is no basis to condition the stipulation on
20   matters collateral to the “party’s claims or defenses claims” in this action, such as the
21   enforceability of a potential judgment. Fed. R. Civ. P. 26 (b)(1).
22          Finally, producing documents in Category 2 is not only unnecessary in light of Thomson
23   SA’s concession of specific personal jurisdiction in these actions, it is also extraordinarily
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25   3
       See Carr v. Liberty Life Assur. Co., No. C05-3190 TEH, 2009 WL 224943, at *2 (N.D. Cal. Jan.
     29, 2009) aff'd, 390 F. App'x 694 (9th Cir. 2010) (“[A] party generally will be judicially estopped
26
     to assert a certain position when: 1) the party's current position is “clearly inconsistent” with its
27   earlier position, 2) the party was successful in persuading a court to accept its earlier position, and
     3) the party would “derive an unfair advantage or impose an unfair detriment on the opposing
28   party if not estopped.” (quoting Williams v. Boeing Co., 517 F.3d 1120, 1134 (9th Cir.2008)).

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 1   burdensome. Thomson SA has identified millions of documents that have been preserved from
 2   the Relevant Period and has been unable to devise any way to cull this massive collection to
 3   meaningfully isolate documents responsive to the broad Category 2 requests with targeted
 4   searches. (Roberts Decl., Ex. 22 at ¶ 27.) Undertaking a thorough review of these millions of
 5   documents that have not been identified or tagged as responsive to the other document searches
 6   Thomson SA has performed would serve no purpose but to further tax Thomson SA’s already
 7   thin resources and jeopardize its trial preparations.
 8                                             CONCLUSION
 9          For the reasons discussed above, Thomson SA respectfully requests that the Court grant
10   Thomson SA’s Motion for Leave to File Amended Answers. Thomson SA further respectfully
11   requests that the Court order that Thomson SA, having amended its answers, be relieved of its
12   obligation to produce documents and testimony related solely to the Plaintiffs’ Category 2
13   discovery requests.
14

15   Dated: December 18, 2014                        Respectfully submitted,
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